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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,                  §
       Plaintiffs,                                    §
                                                      §
 v.                                                   §
                                                      §     Case No. 5:21–cv–844–XR
 STATE OF TEXAS, et al.,                              §     (Lead Case)
       Defendants                                     §
                                                      §
                                                      §
 HARRIS COUNTY REPUBLICAN PARTY, et al.,              §
       Intervenor–Defendants.                         §

      NOTICE OF STATE DEFENDANTS’ AMENDED DEPOSITION DESIGNATIONS

        Defendants Gregory W. Abbott, in his official capacity as Governor of Texas, Jane Nelson, in

her official capacity as Secretary of State, Ken Paxton, in his official capacity as Attorney General of

Texas, and the State of Texas (“State Defendants”) respectfully submit the following designations of

deposition testimony, which amend the testimony designated in State Defendants’ Rule 26(a)(3)

disclosures filed on July 28, 2023 (ECF 688).

        State Defendants offer this testimony by deposition pursuant to Federal Rule of Civil Procedure

32(a)(3) and (4) because the witnesses are adverse parties, are located more than 100 miles from the

place of trial, or could not attend or testify because of age, illness, or infirmity.

        When State Defendants submitted deposition designations as part of their Rule 26(a)(3)

disclosures, the parties’ final witness lists were not yet known. State Defendants now amend their

deposition designations to withdraw testimony of witnesses who have testified at trial. State Defendant

have also added deposition designations for witness who were expected to testify but were later

withdrawn by Plaintiffs. Transcripts reflecting the amended designated testimony are attached as

Exhibits A-M. Should any of the witnesses whose testimony is designated herein testify live during the

remainder of trial, State Defendants ask the Court to consider those witnesses’ deposition designations

to be withdrawn.
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        SUMMARY OF STATE DEFENDANTS’ AMENDED DEPOSITION DESIGNATIONS

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 Date: October 20, 2023                     Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 20, 2023, and that all counsel of record were served by CM/ECF.

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